
Upon consideration of the petition filed on the 9th of July 2018 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 14th of August 2018."
*387Upon consideration of the petition filed by Plaintiff on the 9th of July 2018 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 14th of August 2018."
The following order has been entered on the motion filed on the 9th of July 2018 by Plaintiff to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 14th of August 2018."
